              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Case No. 20-CV-954

FARHAD AZIMA,
                                          PLAINTIFF’S RESPONSE TO
      Plaintiff,                               MOTIONS FOR
                                             CLARIFICATION BY
       v.                                 DEFENDANTS (ECF NO. 256)
                                          AND DECHERT (ECF NO. 261)
NICHOLAS DEL ROSSO and VITAL                AND MEMORANDUM IN
MANAGEMENT SERVICES, INC.,                 SUPPORT OF MOTION TO
                                                SHOW CAUSE
      Defendants.


      Defendants Nicholas Del Rosso and Vital Management Services, Inc.

(“Defendants”) and non-party Dechert LLP have spent more than eight months

preventing and delaying discovery, culminating in refusing to comply with this

Court’s July 25, 2023, Order (the “Order”) requiring Defendants and Dechert

(and other third parties) to produce documents by August 8, 2023, and submit

to depositions by August 24, 2023. Defendants and Dechert feign befuddlement

regarding the Court’s Order and style their motions as seeking clarification.

In fact, their motions are more properly viewed as motions to reconsider.

Regardless of what title is given to these motions, they are frivolous and

transparent attempts to delay and obstruct discovery, and force the Court, its

staff, and Plaintiff to use time and resources wading through their verbose

pleadings. These motions should be summarily denied, and sanctions should

be imposed.




    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 1 of 30
      For approximately seven months before the Court’s July 25 Order,

neither Defendants nor Dechert had produced a single relevant, custodial

document. Following the Court’s Order, their stonewalling has continued.

Defendants refuse to engage in even the most basic forms of discovery. For

example, they want to avoid searching a laptop in their possession that they

admit contains relevant data and exclude data related to key individuals and

entities. Dechert has taken the same approach. It has only produced a subset

of what was produced in a different matter, with different parties, different

issues, and different discovery procedures. It refuses to search for responsive

documents involving relevant custodians or to craft search terms based upon

the subpoena. And it has not even produced a privilege log.

      Not only have Defendants and Dechert willfully violated the Court’s

Order regarding document production, but that violation has resulted in their

failure to meet the deadline set by the Court for depositions: August 24. As

the Court recognized in its Order when it scheduled the depositions following

the document production, those depositions cannot go forward without the

document productions. Defendants and Dechert have once again successfully

ground discovery to a halt.

      The Court’s Order could not have been more clear: “all outstanding

discovery subject to the motions herein shall be produced” by August 8 and

“depositions shall occur” by August 24. The Court said that the “parties should


                                      2

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 2 of 30
not anticipate any further extension of the discovery deadlines” and concluded

that “[f]ailure to comply with the Court’s order may warrant sanctions or civil

contempt under Civil Procedure Rules 37 and 45.” ECF No. 248 at 26.

      Despite the Court’s clear statement disallowing further extensions,

Defendants and Dechert have sought just that – more time to respond. Under

the guise of motions for “clarification” – motions that are not authorized by the

Federal Rules or Local Rules – both Defendants and Dechert sought (on the

last day of document production) changes to the Order that the Court carefully

considered and clearly drafted.     Defendants and Dechert both used their

purported motions for “clarification” as a reason not to comply with the Court’s

Order and a reason not to produce all responsive documents by the Court’s

August 8 deadline, which necessarily prevented the depositions that were

scheduled for August 22-24.

      The Court should reject both motions for clarification as more delay

tactics and order production of all responsive documents immediately. The

Court should not permit Defendants to “exclude” relevant documents from

their searches and should not allow Defendants and Dechert to relitigate the

same issues that have been endlessly litigated in this Court for months. The

Court should impose sanctions and hold Defendants and Dechert in civil

contempt under Federal Rules of Civil Procedures 37 and 45 for their disregard

of the Court’s Order. Because of Dechert’s failure to perfect any privilege


                                       3

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 3 of 30
assertions, including its failure to produce a privilege log at all, the Court

should also order it to produce all responsive documents immediately.

                                 ARGUMENT

      “[A] scheduling order is not a frivolous piece of paper, idly entered, which

can be cavalierly disregarded by counsel without peril.” Forstmann v. Culp,

114 F.R.D. 83, 85 (M.D.N.C. 1987) (citation omitted). Indeed, an extension of

Court ordered deadlines should only occur where the moving party can show

“good cause,” see Fed. R. Civ. P. 6(b), but even then, “eleventh hour extension

[requests] and consistent disregard of discovery deadlines” manifest “bad

faith.” Zornes v. Specialty Indus., Inc., No. 97-2337, 166 F.3d 1212 (table case),

1998 WL 886997, at *6 (4th Cir. Dec. 21, 1998) (unpublished). As Judge Osteen

warned Defendants earlier in these proceedings:          “Federal Rule of Civil

Procedure 11(b)(1) requires that every court filing must not be intended to

cause unnecessary delay.” ECF No. 79 at 12 (quotations omitted).

      Under Federal Rule 37(b), failure “to obey an order to provide or permit

discovery” may result in sanctions, including designating facts as established,

prohibiting the disobedient party from supporting or opposing designated

claims or defenses, preventing the non-compliant party from introducing

designated matters in evidence, and holding the disobedient party in contempt.

Fed. R. Civ. P. 37(b)(2)(A).    And under Rule 45, the Court “may hold in

contempt a person who, having been served, fails without adequate excuse to


                                        4

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 4 of 30
obey the subpoena or an order related to it.” Fed R. Civ. P. 45(g). “Although,

some courts require a showing of bad faith before imposing sanctions, the

Fourth Circuit requires only a showing of fault, with the degree of fault

impacting the severity of sanctions.” Liu v. Eaton Corp., No. 20-CV-255, 2023

WL 3441598, at *3 (E.D.N.C. Mar. 7, 2023) (citation omitted), report and

recommendation adopted, 2023 WL 3437804 (E.D.N.C. May 12, 2023). The law

in this context is clear:

             A party receiving a discovery request who asserts a
             privilege or work product protection but fails to
             disclose the nature of that claim and provide a
             description is at risk of waiving the privilege or
             protection. Courts consistently have held that such a
             party is required to produce a document index or
             privilege log, and that the failure to produce a log of
             sufficient detail constitutes a waiver of the underlying
             privilege or work product claim.

9A Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure

§ 2464 (3d ed. 2011); see also Fed. R. Civ. P. 45, Notes of Advisory Committee

on Rules – 1991 Amendment (a party who fails to disclose a claim of privilege

“is at risk of waiving the privilege or protection”).

I.    DEFENDANTS’ MOTION FOR “CLARIFICATION” AND
      REQUEST FOR A STAY OF DISCOVERY SHOULD BE
      REJECTED.

      Defendants style their motion for delay as one for clarification, saying it

is “unclear” whether the Court addressed the arguments Defendants made in

their prior motions regarding scope and burden. Using that sleight of hand,


                                         5

     Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 5 of 30
Defendants then proceed to reargue points directly addressed in the Order.

The Court already considered all of Defendants’ arguments, rejected

Defendants’ objections, and found that Plaintiff’s discovery requests were all

“relevant to the claims and defenses in this matter.” ECF No. 248 at 14; see

also id. at 11, 18, 21.   The Court rejected all arguments that Plaintiffs’

subpoenas were overbroad, unduly burdensome, or not proportionate to the

needs of this case. Id. at 16. The Court found there was “no reason to believe

that Plaintiff is pursuing discovery for an improper purpose.” Id. at 14. There

is nothing about the Court’s Order that requires “clarification.”

      Defendants nevertheless argue that the Court should “clarify” its Order,

arguing that Plaintiff’s document requests are not “proportional to the needs

of the case.” ECF No. 257 at 3. This is the same argument the Defendants

previously made. See ECF No. 157 at 22 (arguing that the requests were not

“proportionate to the Republication Claims”).        The Court rejected this

argument when it found that the discovery requests were all “relevant to the

claims and defenses in this matter.” ECF No. 248 at 14. Defendants should

not be able to waste the time of the Court (and the parties) by endlessly




                                       6

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 6 of 30
relitigating and attempting to reframe the same arguments the Court has

already rejected.1

      A.    Defendants should be ordered to produce documents and
            communications related to the entities, individuals, and
            projects identified in the document requests.

      Defendants ask the Court to “clarify” whether they have to produce

documents and information related to the entities, individuals, and projects

listed in Plaintiff’s requests for production. The Court already considered this

issue and ruled “the discovery requests are relevant to the claims and defenses

in this matter.” ECF No. 248 at 14. Each of the individuals and entities listed

are alleged to be part of or connected to the conspiracy at the heart of this case.

For example, the requests for production seek documents and communications

related to CyberRoot, a company that the Complaint alleges was engaged by

Defendants to hack Azima, ECF No. 1 ¶¶ 1, 6, 16-19, and publish his hacked

data on WeTransfer. Id. ¶¶ 19-26, 49, 98, 110. Defendants admit in their

Answer that they hired CyberRoot and paid them more than $1 million. ECF

No. 86 ¶ 29.    Yet, since the Court’s Order, Defendants have produced no

communications with CyberRoot. Plaintiff is entitled to seek discovery about



      1  Further demonstrating that their motion is designed for delay,
Defendants attach to their motion new affidavits and raise baseless points that
have nothing to do with the Court’s Order. If any of the issues become relevant
in the future, Plaintiff will address them, but he does not intend to waste time
and judicial resources addressing matters with no relevance to the Order.

                                        7

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 7 of 30
the entities, individuals, and projects related to this matter, the Court has

ruled that Plaintiff may seek this discovery, and Defendants cannot avoid

discovery by claiming, without evidence, that all such work was unrelated to

Plaintiff.

      In addition to producing essentially no documents related to CyberRoot,

Defendants seek to exclude documents related to Aditya Jain, who Del Rosso

admitted to hiring for cyber-related work (see Ex. 1, Excerpts of Nicholas Del

Rosso Dep. Tr. at 84, 288 (Feb. 13-14, 2023)); or Patrick Grayson, who Del

Rosso testified worked on Project Nariman, the project that included the

targeting of Azima.     Id. at 136.    And Defendants have also unilaterally

excluded from their searches documents related to Khater Massaad, even

though Del Rosso testified that Massaad was one of the key targets of the

Dechert investigation that is the subject of this litigation. Id. at 144.2




      2 Individuals associated with the hacking of Azima have similarly
attempted to avoid providing information on the basis that their work related
to Khater Massaad, not Azima. See, e.g., Amit Forlit Dep. Tr., Azima v. Insight
Analysis and Research, et al., No. 22-20707, at 15:14-16:7 (S.D. Fla. Aug. 9,
2022), ECF. No. 47-1 (distinguishing between an investigation of Massaad and
an investigation of Azima). These assertions are despite the fact that reports
containing hacked data include hacked data from both Massaad and Azima.
Id. at 56:12-24 (claiming that Azima was mentioned in his reports “not as the
subject of an investigation, but as someone whose name came up in the
investigation”).

                                        8

     Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 8 of 30
       Defendants’ arguments that these documents are all unrelated to this

litigation rings hollow because Defendants produced essentially no documents

for eight months based upon an exceedingly narrow view of Plaintiff’s claims.

At a hearing in March, Defendants’ counsel represented that they had

“searched our client’s record for responsive information consistent with our

understanding of the scope of the case,” Mot. Hr’g Tr. at 122:6-12 (Mar. 7,

2023); see also id. at 59:6-17 (claiming “the notion that we haven’t produced

anything or we haven’t searched, that’s just not true”) – yet they produced

nothing at that time except Plaintiff’s own stolen data. Now that Defendants

have begun to produce documents, it is clear that they withheld documents

that are clearly relevant. For example, they have now produced more than 850

documents from 2018 and 2019 (the time period that they always claimed was

relevant), including more than 30 that specifically mention Azima, (e.g., Ex. 2,

examples of correspondence from 2018 and 2019 about Plaintiff, including for

example emails from Gerrard to Del Rosso sharing drafts of witness

statements from Stuart Page and Majdi Halabi regarding Plaintiff’s hacked

data), as well as a dozen invoices for Project Nariman during that timeframe

(e.g., Ex. 3).

       As the Court has already ruled, Plaintiff’s requests seek relevant

documents and Defendants should be ordered to produce all responsive




                                       9

     Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 9 of 30
documents immediately. The Court should impose appropriate sanctions for

Defendants’ failure to comply, including holding Defendants in civil contempt.

      B.    Defendants should not be permitted to “exclude” a laptop
            in their custody and control that they admit holds relevant
            documents.

      Defendants raise a new issue relating to discovery and seek to “[e]xclude”

a laptop belonging to Del Rosso from their search and production obligations.

Again, this is not a point of “clarification” – it is an attempt to shoehorn into

this motion a request for a protective order under Rule 26, which this Court

already said “should be sparingly used and cautiously granted.” ECF No. 248

at 4 (citing Medlin v. Andrew, 113 F.R.D. 650, 652 (M.D.N.C. 1987)).

Regardless, the laptop at issue was the computer Del Rosso “used for work,”

Ex. 1 at 358, and should clearly be searched for relevant data. There is no

basis to “exclude” it from discovery, and the fact that Defendants would even

attempt to exclude a device with relevant information is indicative of their

approach to discovery in this matter.

      C.    The Court should reject Defendants’ attempt to disregard
            the Court’s Order to avoid Del Rosso’s deposition.

      Defendants have chosen to ignore the Court’s Order requiring Del Rosso

to complete his deposition, instead asking the Court to reconsider that ruling.

Defendants admit that the Court’s Order “may be read as granting the motion




                                        10

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 10 of 30
to depose Mr. del Rosso for an additional three hours,”3 but they “request that

no further deposition be conducted of Mr. del Rosso in his individual capacity.”

ECF No. 257 at 26-27. Again, this is not a request for clarification; it is an

improper motion for protective order to get around what the Court already

ruled. Indeed, Defendants’ request admits that the Court already ruled that

“Defendant Del Rosso shall continue his deposition and answer questions

presented.” ECF No. 248 at 22 (granting in relevant part Plaintiff’s motion for

further deposition examination of Del Rosso).

      Defendants express concern that Plaintiff may seek to depose Del Rosso

on topics prior to March 2015 for more than three hours. Plaintiff will comply

with the Court’s Order as to the deposition issues, and Defendants are free to

address anything at the deposition that they reasonably believe falls outside

compliance with the Court’s Order. Asking the Court to give an advisory

opinion on issues that may not even come up is not contemplated by the Rules

or an effective use of the Court’s or the parties’ time.




      3 Prior to filing their motion for “clarification,” Defendants agreed that

Del Rosso could testify for three hours, before later reversing course. Ex. 4,
Email from Brandon Neuman to Plaintiff’s Counsel (Aug. 1, 2023, 8:21 AM).

                                        11

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 11 of 30
II.    DECHERT’S STATUS REPORT AND MOTION TO CLARIFY DO
       NOT JUSTIFY ITS FAILURE TO FOLLOW THE COURT’S
       ORDER.

       Like Defendants, Dechert has not complied with the Court’s Order and

seeks to disguise its non-compliance with a long-winded “status report” and a

motion to “clarify.” ECF Nos. 249, 261. Of course, like Defendants, Dechert is

not actually seeking to clarify any aspect of the Court’s Order, which was clear

on its face; rather, Dechert is simply asking the Court to reconsider the rulings

the Court has already made so that Dechert can feign compliance by producing

documents that were already produced to Azima in a different proceeding in

the U.K. and continue to delay this case. The Court should once again deny

this argument.

       Dechert received Plaintiff’s subpoenas eight months ago. It is now clear

that Dechert took no action during the last eight months to specifically collect

documents relevant to these subpoenas, to prepare documents for production,

to identify and prepare a witness for the required Rule 30(b)(6) deposition, or

to do anything to address Plaintiff’s discovery requests. After the Court’s

Order, Dechert simply produced some of the documents it had already

produced in another matter. ECF No. 262 at 1. Dechert has not undertaken

an independent document collection, review, or production for the subpoenas

at issue in this proceeding, nor has it produced a privilege log even though it

claims it is withholding a significant number of privileged documents. As with


                                       12

      Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 12 of 30
Defendants, the Court should not allow Dechert to benefit from its belated

attempts to avoid compliance.

      A.    Dechert Cannot Merely Rely Upon Its Production in a
            Different Proceeding in the U.K. to Satisfy the Court’s
            Order.

      Dechert spends half of its “Status Report” describing its extensive efforts

to produce documents in the U.K. Proceeding, which is an entirely different

case with different parties, issues, and governing law.      See ECF No. 249

¶¶ 1-23. Indeed, Dechert does not even begin talking about its efforts to comply

with the subpoenas in this case until the seventh page of its filing. Id. at 7.

Whatever efforts Dechert has undertaken to produce documents in the U.K.

are irrelevant to what it has done to meet its obligations in this case. Any

subpoena recipient must conduct a search, review, and production in response

to a federal subpoena rather than simply dump on Plaintiff whatever it

happened to produce in a different lawsuit. This dismissive and arrogant

response is unacceptable from any subpoena recipient, let alone a large, global

law firm that advertises its litigation expertise, like Dechert. Dechert’s prior

collections and searches were specific to that case and allowing it to simply

reproduce its U.K. documents without further consideration as to the

particular issues here does not represent compliance with the Court’s Order.

      Dechert has limited its search to the 16 custodians that it identified for

the U.K. litigation, and it has refused to collect data from other witnesses


                                       13

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 13 of 30
within its custody and control who likely have data relevant to Plaintiff’s

misappropriation and conspiracy claims. Among others, Dechert did not collect

from:

        x Caroline Black: A former Dechert partner who Mr. Del Rosso
          admitted interviewed him before he was retained by Dechert and was
          the only Dechert partner Del Rosso could recall attending key
          meetings. See Ex. 1 (Del Rosso Dep. at 22:9-24; 150:4-22). Ms. Black
          was also a known associate of Mr. Gerrard. See Dechert Partner
          Named in Neil Gerrard Case Leaves Firm, Law.com (Feb. 20, 2023)
           https://www.law.com/international-edition/2023/02/20/dechert-partner-
           named-in-neil-gerrard-cases-leaves-firm/. Dechert only produced four
           emails that were sent to Caroline Black, but they demonstrate that
           she was involved from the beginning in the targeting of Plaintiff. See
           Ex. 5 (correspondence from 2015 to disgraced PR firm Bell Pottinger
           providing links to websites regarding Azima and correspondence from
           Gerrard in 2015 to admitted hacker Stuart Page and other Dechert
           partners regarding a report prepared by Page and Dechert’s
           relationship with Page and Del Rosso).

        x James Croock: Dechert’s former general counsel worked with Stuart
          Page, one of the hackers who misappropriated Plaintiff’s data.
          Compl. ¶¶ 2, 7-8, 14-15, 18, 22, 34-35. A U.K. court already found that
          Mr. Page lied about how he obtained Azima’s stolen data. Id. ¶ 34.
          Mr. Croock established a “party line” that Dechert and Gerrard had
          done nothing wrong in connection with their representation of a
          former client; a U.K. court later firmly rejected this notion. Dechert
          only produced one email sent to Croock, but it showed him meeting
          with admitted hacker Stuart Page. See Ex. 6 (correspondence from
          Gerrard to Croock and others regarding logistics of meeting with
          Stuart Page in November 2016).

        x Andrew Levander: A current Dechert partner who took over Dechert’s
          representation of Ras Al Khaimah (“RAK”) after RAK apparently
          fired Neil Gerrard in 2019. In that role, Levander sustained many of
          the same falsehoods that characterized Gerrard’s representation of
          RAK, including writing a threatening letter to a newspaper regarding
          the allegations that Gerrard and his team had illegally hacked Azima



                                        14

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 14 of 30
          and others.     Dechert did not produce any documents to or from
          Levander.

      Compounding Dechert’s failure to search documents belonging to the

relevant custodians is the fact that Dechert did not craft search terms relevant

to the claims and defenses in this litigation. Applying Dechert’s U.K.-specific

search terms for a different case with different issues will inappropriately

exclude       documents   relevant   to        this   litigation’s   conspiracy   and

misappropriation claims.      “Search terms, while helpful, must be carefully

crafted.” Raine Grp. LLC v. Reign Cap., LLC, No. 21-CV-1898, 2022 WL

538336, at *3 (S.D.N.Y. Feb. 22, 2022).

      The search terms Dechert used were agreed upon in April 2022, before

discovery even started in this proceeding, and before key information was

identified.    For example, the search terms were identified before it was

revealed that Del Rosso referred to his work for Dechert as Project Nariman,

so “Nariman” and “Nari” are not search terms. Other projects for related work,

including Project ORM, Project Oak, Project San Remo, Project BBQ, Project

Sphinx, Project Warrior, and Project Wigwam, are not included as search

terms.    Neither are basic terms related to this case such as “Vital

Management,” “Shanahan,” and “Neuman.” This is not an exhaustive set of

search terms that should have been run by Dechert, but it is indicative of the




                                          15

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 15 of 30
fact that Dechert cannot merely rely upon its production in another case to

satisfy its discovery obligations here.

      The Court should order Dechert to collect from all relevant custodians

and either order Dechert to revise its search terms to suit the subpoenas, or

otherwise use its discretionary authority to institute appropriate terms.

Accord Hernandez v. NHR Human Res., LLC, No. 20-CV-3109, 2021 WL

2535534, at *20 (S.D.N.Y. Jun. 18, 2021) (highlighting that judges “overseeing

discovery [are] granted broad discretion to manage the discovery process,

including determinations regarding which search terms a party should

apply.”). The Court should also hold Dechert in contempt for its failure to

comply with the Court’s Order. Its conduct is, at this point, egregious.

      B.     The Court should not reconsider its Order to align it with
             the work Dechert has already done in a different matter.

      In Dechert’s motion to “clarify” the Court’s Order, the firm seeks to

relitigate two other issues that the Court already resolved.

      First, Dechert asks the Court to reconsider the temporal scope of

discovery.   This is not a request for clarification.   The temporal scope of

discovery was the subject of extensive briefing and argument, and the Court’s

Order says eight times that the scope of discovery is “March 2015 through

October 15, 2020.” ECF No. 248 at 12, 14-15, 18-21, 23.




                                          16

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 16 of 30
      Even though Dechert already presented arguments about the scope of

discovery in prior briefing, see ECF Nos. 136, 176, it now argues for the first

time that the scope of discovery that the Court has ordered would cause

Dechert substantial burden because Dechert never collected data from

September 1, 2020, to October 15, 2020. Dechert gives no adequate explanation

why it failed to collect documents after it received Plaintiff’s subpoena in

December 2022.     Dechert complains that, in order to review and produce

relevant documents from this six-week period, it would have to collect data

from its custodians, run search terms to identify responsive records, review the

results, consider privilege, and produce any responsive documents. See ECF

No. 249 at 11-12. Of course, this is true as it is for every subpoena recipient.

Dechert has not identified any “burden” beyond the necessary activities

connected with responding to a subpoena – activities that they could and

should have undertaken months ago. Dechert’s failure to collect documents at

the time the subpoena was issued is not a sufficient reason to relitigate the

temporal scope that the Court has already carefully considered.

      Second, Dechert argues that one of Plaintiff’s requests would cause it to

produce what it now argues are documents unrelated to Azima. This is of

course an argument it could have raised in the extensive briefing previously,

but it failed to do so with any particularity. Plaintiff seeks documents related

to “Ras Al Khaimah Entities . . . including, but not limited to: . . . [a]ll


                                      17

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 17 of 30
engagements of Dechert by RAKIA and other RAK entities from 2013 to

present . . . .” ECF No. 140-2, Req. 6. The Court already ruled that this request

(along with Plaintiff’s other requests) “is relevant to the claims and defenses

in this action.” ECF No. 248 at 10-11. The Order was clear.

      Though the Court has rejected Dechert’s objections in this regard as well,

Plaintiff (in the interest of judicial efficiency) offered Dechert a compromise: If

Dechert could show that the engagements were not related to Plaintiff,

Defendants, or the issues in this litigation, Plaintiff would agree to limit the

subpoena. Plaintiff asked Dechert to provide a list of the allegedly unrelated

engagements. When Dechert refused, Plaintiff asked Dechert to confirm that

the key Dechert lawyers involved in this conspiracy were not also involved in

the other engagements, and asked Dechert to confirm that none of the relevant

project names were used for the engagements that Dechert claims are

unrelated to this litigation. Dechert again refused. See ECF No. 261.

      The Court should reject Dechert’s request that the Court “clarify” its

Order. Dechert should be ordered – again – to produce all documents sought

by the subpoenas.     The Court should also impose appropriate sanctions,

including holding Dechert in civil contempt for its failure to comply.




                                        18

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 18 of 30
      C.    Dechert cannot withhold documents based on U.K.
            privilege and U.K. procedural rules.

      Dechert next attempts to delay its duties under the subpoena by arguing

that U.K. privilege law should apply to its productions.       As noted above,

Dechert has only reproduced documents that were previously produced in the

U.K. Proceeding, where (of course) the documents were governed by English

privilege standards.4 Dechert argues that English privilege law must apply

here as well.   This position, however, ignores North Carolina law, which

governs both Dechert’s productions as well as this Court’s analysis.

      “[I]n a diversity action the availability of an evidentiary privilege is

governed by the law of the forum state.” Ashcraft v. Conoco, Inc., 218 F.3d 282,

285 n.5 (4th Cir. 2000); Fed. R. Evid. 501 (“[I]n a civil case, state law governs

privilege regarding a claim or defense for which state law supplies the rule of

decision.”). This is because, “[u]nder North Carolina’s traditional approach to

conflict of law rules, ‘remedial or procedural rights are determined by lex fori,

the law of the forum.’” Stack v. Abbott Lab’ys, Inc., No. 12-CV-148, 2016 WL

6884936, at *4 (M.D.N.C. Jun. 8, 2016) (quoting Boudreau v. Baughman, 368

S.E.2d 849, 854 (N.C. 1988)) (finding question of privilege was “procedural”);

see also Tenn. Carolina Transp., Inc. v. Strick Corp., 196 S.E.2d 711, 720 (N.C.


      4 Dechert also appears to have used U.K. court procedures for redactions,

redacting individual words of emails and invoices that would not normally be
redacted under U.S. law.

                                       19

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 19 of 30
1973) (“[Q]uestions of the admission and exclusion of evidence are generally

considered procedural and governed by the lex fori”). Thus, it should be clear

that North Carolina’s privilege law applies to Dechert’s production. Indeed,

the Court said in its Order: “the Court finds unpersuasive the relevance of any

application of the attorney-client privilege applying foreign law to the issue of

whether communications and documents involving Defendants may be

privileged.” ECF No. 248 at 23-24.

      The Supreme Court of North Carolina recently rejected an attempt to

categorically shield communications related to an internal investigation

between a client and their outside law firm in favor of a more nuanced,

document-by-document inspection to determine whether privilege applies. See

generally Buckley, LLP v. Series 1 of Oxford Ins. Co., 382 N.C. 55 (2022). But

as the Supreme Court admonished, “communications made in [] investigations

are not necessarily ‘made in the course of giving or seeking legal advice for a

proper purpose.’” Id. at 56 (quoting In re Miller, 357 N.C. 316, 335 (2003)); see

also In re Allen, 106 F.3d 582, 602 (4th Cir. 1997) (same).             Often such

communications “contain intertwined business and legal advice,” which

require “courts [to] consider whether the ‘primary purpose’ of the

communication was to seek or provide legal advice.” Buckley, LLP, 382 N.C.

at 56. (citation omitted). Where “the investigation was initiated and pursued

in the ordinary course of [the client’s] business,” “the fact that [the client] hired


                                         20

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 20 of 30
a prominent outside law firm to conduct the investigation does not change [the]

fact” that a law firm’s communications are not necessarily privileged. Buckley

LLP v. Series 1 of Oxford Ins. Co. NC LLC, No. 19-CV-21128, 2020 WL

6696138, at *8 (N.C. Super. Nov. 9, 2020), aff’d, 382 N.C. 55 (2022).

      In addition, there are significant differences between North Carolina

privilege law and English privilege law and procedure. For example, Dechert

has not provided a privilege log in the U.K. Proceeding. As a result, the parties

to the U.K. Proceeding have not undertaken the document-by-document

privilege explanation mandated by North Carolina law. The Court should not

let Dechert ignore the law in this jurisdiction just because it is convenient to

Dechert.

      D.    The Court should order Dechert to produce any responsive
            documents not logged by the Court-imposed discovery
            deadline.

      Dechert claims that its document review implicates “potential privilege,”

and it has redacted portions of the documents that it has produced – but

Dechert did not produce a privilege log by the date ordered by the Court and

still has not logged a single document it claims is privileged. Tellingly, Dechert

has at the same time produced 73 documents bearing a privileged legend (and




                                       21

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 21 of 30
Defendants have produced another 70 documents bearing a privileged legend),

which raises questions regarding the crime fraud exception.5

      “‘A party simply cannot claim privilege and refuse to provide a privilege

log; indeed, some courts have found that doing so results in waiver of the

privilege.’” Oppenheimer v. Episcopal Communicators, Inc., No. 19-CV-00282,

2020 WL 4732238, at *5 (W.D.N.C. Aug. 14, 2020) (citation omitted); Clean &

Sober Media, LLC v. Renew Counseling Ctr. of NC, LLC, No. 20-CV-00252,

2021 WL 5114654, at *4 (E.D.N.C. Sept. 1, 2021) (requiring a party to provide

a privilege log and emphasizing that “[f]ailure to provide an adequate privilege

log will lead to a waiver of the claimed privilege or the work-product doctrine”);

Dorf & Stanton Commc’ns, Inc. v. Molson Breweries, 100 F.3d 919, 923 (Fed.

Cir. 1996) (affirming the Second Circuit’s holding that a third party “waived

its claim to privilege” when it “‘fail[ed] to provide a complete privilege log

demonstrating sufficient grounds for taking the privilege’”) (citation omitted).

      A privilege log is particularly important in this case because Dechert has

admitted in the U.K. case that the analogue to the crime fraud exception

applies to at least some of the documents that are purportedly privileged. ECF



      5 Many of these documents are likely only available from Dechert.      In
course of serving third-party subpoenas, Plaintiff has learned that outside
counsel for RAK has been telling third parties with potentially relevant
information to delete all data belonging to RAK. See Ex. 7 (emails and proposal
regarding deletion of 27 TB of data while litigation was pending).

                                       22

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 22 of 30
No. 250-1 ¶¶ 122-136. Dechert has produced 73 documents that were

previously labeled privileged.   In a recent filing, Dechert argues that its

production was not a complete waiver of privilege, but it has not explained

during the past eight months what engagements are relevant to its privilege

claims here or what if any privilege Dechert alleges remains following their

determination that privilege did not apply to a significant number of

documents labeled privileged. Dechert’s refusal to produce even the most basic

information about the engagements and privileges at issue prevent the Court

and the parties from addressing these issues in any kind of informed way. It

is critical to obtain this information immediately so the Court has the

opportunity to determine the scope of Dechert’s privilege waiver and make any

necessary subsequent orders to Defendants and other third parties to produce

documents over which privilege is improperly asserted.

     The Court ordered document production by August 8, 2023. Dechert did

not even attempt to comply with the Court’s Order. The Court should sanction

Dechert for their discovery misconduct. And, because Dechert has not logged

any purportedly privileged documents, the Court should find that any

purported privilege is waived and order that all responsive documents not

logged should be produced.




                                     23

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 23 of 30
      E.     Dechert cannot delay its Rule 30(b)(6) deposition until
             immediately before the close of discovery.

      The Court unambiguously “decline[d] to quash” the subpoena seeking

30(b)(6) testimony from Dechert. ECF No. 248 at 16. Dechert has relevant

testimony that it can provide “through its corporate representative that cannot

otherwise be discovered [from Defendants’].” Id. at 17. Nevertheless, Dechert

argues that, because one of Plaintiff’s topics for examination seeks testimony

on “[a]ll categories of documents requested in Plaintiff’s [document

subpoena] . . . as well as documents produced by Dechert LLP in response,” it

cannot produce a witness to provide testimony on any of Plaintiff’s topics for

examination until October 23, 2023, just prior to the Court-ordered end of fact

discovery. ECF No. 249 at 14 (quoting ECF No. 140-1, Topic 1).6 This is simply

another delay tactic.

      As before, “Dechert has made nothing more than conclusory arguments

of not just privilege, but burden, which will not suffice here.” Order at 17.

Dechert cannot refuse to make adequate productions on the timeline identified

by the Court and then use that same delay as an excuse to forestall its

deposition. That would give Dechert the benefit of its obstruction. Here, the

Court granted an extension of discovery from July 25 to October 31 and warned


      6 In addition, Dechert effectively delayed its deposition by failing to
produce all responsive documents and a privilege log by the Court’s ordered
deadline.

                                      24

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 24 of 30
that “the parties should not anticipate any further extension of the discovery

deadlines.” Id. at 25. Dechert seeks to use almost all of that additional time

to stave off its deposition, leaving Plaintiff no ability to follow up on any

information Dechert’s corporate representative provides.

                               CONCLUSION

      Defendants’ and Dechert’s Motions for Clarification should be denied.

The Court should order production immediately of all documents responsive to

Plaintiff’s subpoenas and document requests.        Plaintiff also respectfully

requests that the Court enter an Order compelling Defendants and Dechert to

show cause why the Court should not impose sanctions and hold Defendants

and Dechert in contempt for their failure to abide by the Court’s July 25 Order.

      This, the 29th day of August, 2023.
                                 WOMBLE BOND DICKINSON (US) LLP

                                 /s/ Ripley Rand
                                 Ripley Rand
                                 North Carolina State Bar No. 22275
                                 Christopher W. Jones
                                 North Carolina State Bar No. 27265
                                 555 Fayetteville Street, Suite 1100
                                 Raleigh, North Carolina 27601
                                 Phone: 919-755-2100
                                 Fax: 919-755-2150
                                 Email: ripley.rand@wbd-us.com
                                          chris.jones@wbd-us.com

                                 -and-




                                      25

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 25 of 30
                           MILLER & CHEVALIER CHARTERED

                           Kirby D. Behre (pro hac vice)
                           Timothy P. O’Toole (pro hac vice)
                           Lauren Briggerman (pro hac vice)
                           Ian Herbert (pro hac vice)
                           Calvin Lee (pro hac vice)
                           Cody Marden (pro hac vice)
                           900 16th Street, NW
                           Washington, D.C. 20006
                           Telephone: (202) 626-5800
                           Fax: (202) 626-5801
                           Email: kbehre@milchev.com

                           Counsel for Plaintiff




                                26

Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 26 of 30
                    CERTIFICATE OF WORD COUNT
      The undersigned certifies compliance with Local Rule 7.3(d) regarding

length limitations. This memorandum contains fewer than 6,250 words. The

undersigned has relied on the word count feature of Microsoft Word 365 in

making this certification.



                                         /s/ Ripley Rand
                                         Ripley Rand
                                         Counsel for Plaintiff




                                    27

    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 27 of 30
              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    CASE NO. 20-CV-954-WO-JLW



FARHAD AZIMA,

      Plaintiff,

      v.
                                          CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.



      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
Notice to the following attorneys:

      Brandon S. Neuman, Esq.
      John Branch, III, Esq.
      Jeffrey M. Kelly, Esq.
      Nathaniel J. Pencook, Esq.
      NELSON MULLINS RILEY & SCARBOROUGH, LLP
      301 Hillsborough Street, Suite 1400
      Raleigh, NC 27603
      brandon.neuman@nelsonmullins.com
      jeff.kelly@nelsonmullins.com
      nate.pencook@nelsonmullins.com
      john.branch@nelsonmullins.com
      Tel.: 919.329.3800
      Fax.: 919.329.3799




    Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 28 of 30
 Samuel Rosenthal
 Nelson Mullins Riley & Scarborough LLP
 101 Constitution Ave NW, Suite 900
 Washington, DC 20001
 Tel.: 202-689-2951
 Fax: 202-689-2860
 sam.rosenthal@nelsonmullins.com

 Counsel for Defendants

 John C. Quinn
 Sean Hecker
 David Gopstein
 Mark Weiner
 Kaplan Hecker & Fink LLP
 350 Fifth Avenue, Suite 63rd Floor
 New York, NY 10118
 212-763-0883
 Fax: 212-564-0883
 Email: jquinn@kaplanhecker.com
 Email: shecker@kaplanhecker.com
 Email: dgopstein@kaplanhecker.com
 Email: mweiner@kaplanhecker.com

 Kearns Davis
 Daniel D. Adams
 Brooks Pierce McLendon Humphrey & Leonard LLP
 P.O. Box 26000
 Greensboro, NC 27420-6000
 Email: kdavis@brookspierce.com
 Email: dadams@brookspierce.com
 Tel.:336-373-8850
 Fax.: 336-378-1001

 Counsel for Dechert LLP




                                2



Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 29 of 30
 This, the 29th day of August, 2023.

                              WOMBLE BOND DICKINSON (US) LLP

                              /s/ Ripley Rand
                              Ripley Rand
                              North Carolina State Bar No. 22275
                              555 Fayetteville Street, Suite 1100
                              Raleigh, NC 27601
                              Telephone: (919) 755-8125
                              Facsimile: (919) 755-6752
                              Email:       ripley.rand@wbd-us.com


                              Counsel for Plaintiff




                                 3



Case 1:20-cv-00954-WO-JLW Document 277 Filed 08/29/23 Page 30 of 30
